Business Search - Business Entities - Business Programs
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        Secretary of State                Administration        Elections    Business Programs        Political Reform


    Business Entities (BE)
                                             Business Entity Detail
    Online Services
     - Business Search                       Data is updated weekly and is current as of Friday, September 03,
     - Disclosure Search                     2010. It is not a complete or certified record of the entity.
     - E-File Statements
     - Mail Processing Times                      Entity Name:                      VIRIDIS FUELS
                                                  Entity Number:                    C3156736
    Main Page
                                                  Date Filed:                       08/05/2008
    Service Options
                                                  Status:                           ACTIVE
    Name Availability
                                                  Jurisdiction:                     CALIFORNIA
    Forms, Samples & Fees
                                                                                    4030 INTERNATIONAL BLVD., STE.
                                                  Entity Address:
    Annual/Biennial Statements                                                      A

    Filing Tips                                   Entity City, State, Zip:          OAKLAND CA 94601

    Information Requests                          Agent for Service of
                                                                                    RAFAEL A ICAZA
     (certificates, copies &                      Process:
      status reports)                                                               4030 INTERNATIONAL BLVD., STE.
                                                  Agent Address:
    Service of Process                                                              A

    FAQs                                          Agent City, State, Zip:           OAKLAND CA 94601

    Contact Information
                                             * Indicates the information is not contained in the California Secretary
    Resources                                of State's database.
     - Business Resources
                                                   If the status of the corporation is "Surrender," the agent for service
     - Tax Information
                                                   of process is automatically revoked. Please refer to California
     - Starting A Business
                                                   Corporations Code section 2114 for information relating to service
     - International Business
                                                   upon corporations that have surrendered.
       Relations Program
                                                   For information on checking or reserving a name, refer to Name
                                                   Availability.
    Customer Alert
                                                   For information on ordering certificates, copies of documents and/or
    (misleading business
                                                   status reports or to request a more extensive search, refer to
     solicitations)
                                                   Information Requests.
                                                   For help with searching an entity name, refer to Search Tips.
                                                   For descriptions of the various fields and status types, refer to Field
                                                   Descriptions and Status Definitions.

                                            Modify Search         New Search     Printer Friendly     Back to Search
                                           Results


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